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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

ALICIA STREET, et al.,                            )
                                                  )
        Plaintiffs,                               )
                                                  )
v.                                                )   Cause No. 4:19-CV-02590-CDP
                                                  )
LT. COL. LAWRENCE O’TOOLE, et al.,                )
                                                  )
        Defendants.                               )

     CONSENT MOTION FOR EXTENSION OF DEADLINE TO SERVE DEFENDANTS

        Plaintiffs move for a two-week extension of the deadline to serve Defendants Bailey

Colletta, Randy Hays, and Steve Korte. In support of this Motion, Plaintiffs state the following:

        1.      On August 28, 2020, Plaintiff indicated to the Court that with regard to Defendants

Rebecca Andrews, Daniel Cora, Bradford Ellis, Orie Figgs, Michael Flatley, Derrick Frye, Daniel

Howard, Jon Long, Brandon Moore, Aaron Mueller, Cliff Sommer, Christopher Tanner, Matt

Tesreau, and James Wurm, the City Counselor’s office has indicated that it was in the process of

getting necessary approvals to represent them.

        2.      On September 24, 2020, the City Counselor’s office entered on behalf of Rebecca

Andrews, Daniel Cora, Bradford Ellis, Orie Figgs, Michael Flatley, Derrick Frye, Daniel Howard,

Jon Long, Brandon Moore, Aaron Mueller, Cliff Sommer, Matt Tesreau, and James Wurm.

        3.      Plaintiffs will be filing a motion to dismiss Christopher Tanner without prejudice.

        4.      On August 28, 2020, Plaintiffs stated that with respect to Defendants William

Olsten, Dustin Boone, Bailey Colletta, Randy Hays, Steve Korte, and Christopher Myers, the City

Counselor’s office agreed to notify Plaintiffs’ counsel within 15 days if they will enter an

appearance for these officers.



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       5.      The process to decide whether to represent these Defendants took longer than 15

days. On September 24, 2020, the City Counselor’s office indicated that they will enter on behalf

of Defendants Olsten and Myers, were unsure about Defendant Korte, and that Plaintiffs should

serve Defendants Boone, Hays, and Colletta.

       6.      On September 25, 2020, Plaintiffs requested summonses for Defendants Korte,

Boone, Hays and Colletta. At the request of Defendants, Plaintiff requested that these summonses

be filed under seal to protect the addresses of the Defendant officers.

       7.      Apparently due to the request to file these under seal, the summonses were issued

on October 1, 2020. Plaintiffs immediately delivered the summonses and complaints to their

special process server, and the process server has already served Defendant Boone and attempted

to serve Defendants Korte, Hays, and Colletta.

       8.      The special process server reported that the addresses for Korte, Hays, and Colletta,

which were provided by the City Counselor’s office as last known addresses, are no longer valid.

The special process server is working to identify current contact information for each.

       9.      Based on the information provided in Plaintiffs’ August 28, 2020 filing, the Court

set a deadline for the City Counselor’s office to enter and/or Plaintiffs’ to effectuate service by

October 5, 2020.

       10.     All of the service issues have been resolved except three. Plaintiffs will continue to

attempt to effectuate service on Defendants Korte, Hays, and Colletta but request an additional

two weeks to do so.

       11.     Accordingly, with consent of Defendants’ attorneys, Plaintiffs request that the

Court extend the deadline to October 19, 2020, for Plaintiffs to serve Defendants Korte, Hays, and

Colletta.



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       WHEREFORE, for the reasons stated above, Plaintiffs respectfully request the Court to

enter an order extending the deadline to October 19, 2020, for Plaintiffs to serve Defendants Korte,

Hays, and Colletta.


Date: October 1, 2020                                Respectfully submitted,

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